Case 16-10223-|\/|FW Doc 1191 Filed 07/21/17 Page 1 of 3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter ll
In re:

Case No. 16-10223 (MFW)
Jointly Administered

Ref. pocket Nos. 1128, 1157 and m 'l

)
§
RCS CAPITAL CORPORATION, e_t a_l., )
)
)
Reorganized Debtors.1 )

)

 

SECOND ORDER SUSTAINING CREDITOR TRUST’S NINTH OMNIBUS
(SUBSTANTIVE) OBJECTION TO CLAIMS PURSUANT TO SECTION 502 OF THE
BANKRUPTCY CODE. BANKRUPTCY RULE 3007 AND LOCAL RULE 3007-1

Upon consideration of the Credl`tor Trust’s Nl`m‘h Omm`bus (Substantl`ve)
Objection to Claims Pursuant to Sectl`on 502 of the Bankruptcy Coa’e, Bankruptcy Rule 3007 and
Local Rule 3007-1 (the “Ob']ection”) and the Jacobs Declaration; and it appearing that this Court
has jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334; and it
appearing that venue of the Chapter ll Cases and the Obj ection in this district is proper pursuant
to 28 U.S.C. §§ 1408 and 1409; and it appearing that this matter is a core proceeding pursuant to
28 U.S.C. § 157(b); and it appearing that notice of the Objection Was good and sufficient upon
the particular circumstances and that no other or further notice need be given; and upon the
record herein; and after due deliberation thereon and good and sufficient cause appearing
therefore; it is hereby ORDERED, ADJUDGED, AND DECREED THAT:

l. The Objection is SUSTAINED, as set forth herein.

 

l The “Reorganized Debtors” in these chapter ll cases, along with the last four digits of their respective federal tax
identification numbers, are: RCS Capital Corporation n/k/a Aretec Group, Inc. (4716); American National Stock
Transfer, LLC (3206); Braves Acquisition, LLC (6437); DirectVest, LLC (9461); J.P. Tumer & Company Capital
Management, LLC (7535); RCS Advisory Services, LLC (4319); RCS Capital Holdings, LLC (9238); Realty
Capital Securities, LLC (0821); SBSI Insurance Agency of Texas, Inc. (9203); SK Research, LLC (4613); Trupoly,
LLC (5836); We R Crowdfunding, LLC (9785). The Reorganized Debtors’ corporate headquarters and mailing
address is located at 200 North Sepulveda Blvd., Suite 1200, El Segundo, CA 90245 Attn: Legal Department.

 

 

+_
Case 16-10223-|\/|FW Doc 1191 Filed 07/21/17 Page 2 of 3

2. As a settlement of all claims that have been or could be asserted by the
Claimant against the Debtors, their estates and/or the RCS Creditor Trust, the Reduce and Allow
Claim identified on Annex A to this Order is reduced and allowed in the amount identified under
the column labeled “Modified Claim Amount” as set forth on Annex A.

3. Any and all rights of the RCS Creditor Trust or the Trust Administrator to
amend, supplement or otherwise modify the Objection and to file additional objections to any
and all claims filed in the Chapter ll Cases, including, Without limitation, the Disputed Claim, to
the extent permitted, shall be reserved. Any and all rights, claims and defenses of the RCS
Creditor Trust with respect to the Disputed Claim shall be reserved, and nothing included in or
omitted from the Objection, this Order or Annex A hereto is intended or shall be deemed to
impair, prejudice, waive or otherwise affect any rights, claims, or defenses of the RCS Creditor
Trust with respect to the Disputed Claim.

4. Any and all rights, claims and defenses of the Reorganized Debtors and
the Debtors’ estates with respect to any claims, other than General Unsecured Claims, shall be
reserved, and nothing included in or omitted from the Objection, this Order or Annex A hereto is
intended, or shall be deemed, to be an allowance of, or impair, prejudice, Waive or otherwise
affect, any rights, claims, or defenses of the Reorganized Debtors and the Debtors’ estates with
respect to any such claims.

5. This Court shall retain jurisdiction over any and all affected parties With
respect to any and all matters, claims or rights arising from or related to the implementation or
interpretation of this Order.

[Remaina'er of page left intentionally blank]

 

 

 

 

Case 16-10223-|\/|FW Doc 1191 Filed 07/21/17 Page 3 of 3

Dated: , 2017
Wil ingt n, Delaware

Y\s…l%\§»&$§\

The Honorabl€Mary F. Walrath
United States Bankruptcy Judge

